Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 1 of 14




                           U N ITED STA TES D ISTR IC T CO U RT
                           SO U TH ER N D ISTR IC T O F FL O R ID A

                          CASENO 1 s -a a av : CF-0ySlq0,
                                      .


                                          18U.S.C.j371                             /o'
                                                                                     sul-tw o
                                          18U.S.C.j2421(a)
                                          18U.S.C.j 1956(a)(1)(B)(i)
                                          18U.S.C.j981(a)(1)(C)
                                          18U.S.C.j2428
                                          18U.S.C.j982(a)(1)
 U NITED STA TES O F A M ER ICA

 VS.


 M A R IA PILAR R EVO RE DO ,
 M ARIA BELEN ENRIQUEZ BARRIGA,
 and PATR ICIO PELL-RIC H A RD S,
             D efendants.
                                               /

                                           IND ICT M EN T

        The Grand Jury chargesthat:

                                 G ENER AL AL LEG A TIO N S

        A talltim esm aterialto thislndictm ent'
                                               .

               The w ebsite w ww .them iam idolls.com advertised escort services to custom ers

 throughoutthe U nited States.

               The w ebsite w ww .redtease.m e advertised escortservices to custom ers throughout

 the United States.

               RT Network,LLC (EERT Network'')wasincorporated on oraboutNovember28,
 2014,in the State ofW yom ing,and listed itsprincipaloftice at 1673 Bay Rd.401,M iam iBeach,
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 2 of 14



 Florida,33139. O n oraboutSeptem ber26,2017,M A RIA PILA R R EVO R ED O w as nam ed as

 the signatory for RT N etw ork's 2017 alm ualreport.

               PhoebeVentures,LLC (ççphoebeVentures'')wasincorporatedonoraboutJanuary
 11,2017,in the State ofFlorida,and listed itsprincipaloftice at7015 Biscayne Boulevard,M iam i,

 Florida,33138.M ARIA BELEN ENRIQUEZ BARRIGA andM ARIA PILAR REVOREDO
 were listed asm anagers for Phoebe V entures.

               LuxeSolutionsCorp (EçtauxeSolutions'')wasincorporatedonoraboutFebruary6,
 2015,in the State of Florida,and listed its principal office at 9341 Collins A venue,Apt. l108,

 M iam i Beach, Florida, 33154. M ARIA BELEN ENRIQUEZ BARRIGA waslisted asthe

 PresidentforLuxe Solutions.

               Clic Studio,Corp.('tC1ic Studio'') was a photography business operated by
 PA TRICIO PELL-R ICH A RD S and located at 8101 Biscayne Boulevard, Penthouse #700,

 M iam i,Flolida,33138.

                                            CO U N T I

               The allegations set forth in paragraphs 1 through 6 of the G eneral A llegations

 section ofthis lndictm entare re-alleged and incop orated by reference as iffully setforth herein.

               From on or aboutM arch 27,2014,through in oraround February 2018,in M iam i-

 D ade County,in the Southern DistrictofFlolida,and elsew here,the defendants,

                                 M A R IA PILA R R EV O R ED O ,
                           M ARIA BELEN ENRIQUEZ BARRIGA,
                              and PA TRIC IO PELL-R ICH A RD S

 did know ingly and w illfully com bine,conspire,confederate and agree w ith each other and with

 others know n and unknow n to the Grand Jury to com m itany offense againstthe United States,

 that is,to know ingly transportand cause the transportation of any individual in interstate and
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 3 of 14



 foreign com m erce,w ith intentthatsuch individualengage in prostitution,in violation ofTitle 18,

 United StatesCode,Section2421(a).
                              PU R PO SE O F TH E C O N SPIM C Y

                Itw asthepurpose ofthe conspiracy forthe defendantsand theirco-conspirators to

 unjustlyenrichthemselvesbyrecruitingwomentoengageinprostitution,advertisingthewomen's
 servicesonline,and arranging the w om en'stravelacross the United Statesforprostitution.

                      M A N N ER A N D M EAN S O F TH E C O N SPIM CY

        The naanner and naeans by which the defendants and their co-conspirators sought to

 accom plish the purpose ofthe conspiracy included,am ong otherthings,the follow ing:

                M ARIA PILAR REVOREDO,M ARIA BELEN ENRIQUEZ BARRIGA,and
 PA TRIC IO PELL-R ICH A R D S recruited w om en from the United States as w ell as foreign

 nationalsto engage in prostitution in variouscitiesthroughoutthe United States.

                M ARIA PILAR REVOREDO,M ARIA BELEN ENRIQUEZ BARRIGA,and
 theirco-conspirators,obtained inform ation from therecruited w om en and posted iton thew ebsites

 showing profiles for each wom an,including erotic photographs of the w om en,as w ell as their

 height,weight,breastm easurem ents,likes,dislikes,price perhour,and a travelschedule.

                M ARIA PILAR REVOREDO andM ARIA BELEN ENRIQUEZ BARRIGA
 used the w ebsites to prom ote the wom en's selwices in various citiesacrossthe U nited States.

                M ARIA PILAR REVOREDO,M ARIA BELEN ENRIQUEZ BARRIGA,and
 theirco-conspirators,m anaged the w om en'stravelschedules,including arranging airtravel,hotel

 accom m odations,and screened and booked custom ers.

                M ARIA PILAR REVOREDO ,M ARIA BELEN ENRIQUEZ BARRIGA,and
 their co-conspirators, instnlcted the w om en to deposit a percentage of their earnings gained
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 4 of 14



 through prostitution into various bank accounts in cities throughout the United States that

 REVOREDO andENRIQUEZ BARRIGA controlled.
               PA T RICIO PELL-R IC H A RD S took naked and eroticphotographsofthe w om en

 tobeadvertisedonthewebsites,recruitedwomen tojoin theRed TeaseNetwork,assisted inthe
 adm inistration of the w w w .redtease.m e w ebsite, and received paym ents from the R ed Tease

 Network forhisservices.

                                         O V ER T A CTS

        In furtheranceoftheconspiracyandtoaccomplishtheobjectandpurposethereof,atleast
 one of the co-conspirators com m itted and caused to be com m itted,in the Southern Distlict of

 Florida,atleastone ofthe follow ing overtacts,am ong others:

               On or about M arch 27,2014,M A R IA PILA R REV O RE DO nam ed herselfthe

 registered ownerofthe w ebsite w ww .redtease.m e.

               OnoraboutMay4,2015,M ARIA BELEN ENRIQUEZ BARRIGA paidforthe
 renew alofthe w ebsite w ww .them iam idolls.com .

               On or about January 20,2015,M A R IA PILA R R EVO RE DO opened a W ells

 Fargo bank accountending in 1523 in the nam e ofRT N etw ork.

               ln or around M arch 2015,PA TRIC IO PELL -RIC H A RD S took naked and erotic

 photographsofJ.U .atClic Studio,in M iam i,Florida,thatw ere posted onto w w w .redtease.m e.

               ln or around April2015,PA TR ICIO PELL-R IC H A RD S took naked and erotic

 photographsofC.C .atClic Studio,in M iam i,Florida,thatw ere posted onto w w w .redtease.m e.

        6.     ln oraround A ugust20l5,PA TRIC IO PELL-R ICH A R D S took naked and erotic

 photographsofK .M .atC lic Studio,in M iam i,Flolida,thatw ere posted onto ww w .redtease.m e.




                                                 4
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 5 of 14




               On or about N ovem ber 28,2015,M A R IA PILA R REV O RED O opened a JP

 M organ Chase Bank A ccountending in 3526 in the nam e ofEERT N etw ork,LLC .''

               During the course of the conspiracy,M A R IA PILA R R EV O R ED O ,M A R IA

 BELEN ENRIQUEZ BARRIGA,andtheirco-conspirators,causedapproximately$389,375.00
 to be deposited into the RT N etw ork JP M organ Chase Bank A ccountending in 3526,including

 60cashdepositstotalingapproximately $121,910.00,deposited in Floridaaswellasbankbranches

 throughoutthe United States.

               During the course of the conspiracy, PA TRIC IO PE LL-R IC H A R D S obtained

 approxim ately $25,690.00 from RT Network'sJP M organ Chase Bank Accountending in 3526.

               Duringthecourseoftheconspiracy,M ARIA BELEN ENRIQUEZ BARRIGA
 obtained approximately $47,129.00 from RT Network'sJP M organ Chase Bank Accountending
 in 3526.

               On or about January 20, 2015,M A R IA PILA R REV O RED O opened a W ells

 Fargo Bank Accountending in 1523 in the nam e of'CRT N etw ork,LLC.''

               During the course of the conspiracy, M A RIA PILA R REV O RED O obtained

 approxim ately $109,878.00 from RT Network'sW ellsFargo Bank Accountending in 1523.

        l3.    On oraboutApril22,2016,M ARIA BELEN ENRIQUEZ BARRIGA openeda
 Bank ofA m erica bank accountending in 8509 in the nam e ofLuxe Solutions.

        14.    D uring the course of the conspiracy,M A RIA PILA R REV O RE DO ,M A R IA

 BELEN ENRIQUEZ BARRIGA,and theirco-conspirators,caused approxim ately $489,000.00
 to be deposited into Luxe Solutions'Bank ofA m erica accountending in 8509.

        A llin violation ofTitle l8,U nited States Code,Section 371.
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                                          CO UN TS 2-3

               The allegations set forth in paragraphs 1 through 6 of the G eneral A llegations

 section ofthislndictm entare re-alleged and incolporated by reference asiffully setforth herein.

               On oraboutthe datesspecified as to each countbelow ,in M iam i-D ade County,in

 the Southern DistlictofFlorida,and elsewhere,the defendants,

                              M AR IA PILA R R EV O R ED O and
                           M ARIA BELEN ENRIQUEZ BARRIGA,
 did knowingly transportand causethe transportation ofan individual,C .C .,in interstatecom m erce

 w ith the intentthatC .C .engage in prostitution,asdescribed below :

    C ount        A pproxim ate D ate                  D escription ofTransportation

       2             M ay 4,2015          U S A irways flight# 148 from M iam i,Flolida to Charlotte,
                                          N orth C arolina

       3             July 25,2015         U S A irw ays flight //2055 from M iam i, Florida to
                                          Philadelphia,Pennsylvania


        ln violation ofTitle 18,U nited States Code,Sections2421 and 2.

                                          CO UN TS 4-5

               The allegations set forth in paragraphs l through 6 of the G eneral A llegations

 section ofthis Indictm entare re-alleged and incorporated by reference as iffully setforth herein.

               O n oraboutthe dates specified asto each countbelow ,in M iam i-D ade County,in

 the Southern DistlictofFlorida,and elsewhere,the defendants,

                              M A RIA PILA R R EV O R ED O and
                           M ARIA BELEN ENRIQUEZ BARRIGA,
 did know ingly transport and cause the transportation of an individual, K .M ., in interstate

 com m erce w ith the intentthatK .M .engage in prostitution,asdescribed below :
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    C ount        A pproxim ate D ate                  D escription ofT ransportation

       4           October 24,2016        A m erican A irlines flight #330 from M iam i, Florida to
                                          Chicago,lllinois

       5            M arch 27,2017        A m erican Airlines flight #120 from M iam i, Florida to
                                          Chicago,Illinois


        ln violation ofTitle 18,U nited States Code,Sections2421 and 2.

                                           C O U N T 6-7

               The allegations set forth in paragraphs 1 through 6 of the G eneral A llegations

 section ofthis lndictm entare re-alleged and incorporated by reference as iffully setforth herein.

               O n oraboutthe dates specified as to each countbelow ,in M iam i-Dade County,in

 the Southern D istrictofFlorida,and elsewhere,the defendants,

                               M A RIA PILA R R EV O R ED O and
                           M ARIA BELEN ENRIQUEZ BARRIGA,
 did know ingly transportand cause the transportation ofan individual,J.U .,in interstate com m erce

 with the intentthatJ.U .engage in prostitution,as described below :

    Count         Approxim ate D ate                   D escription ofTransportation

       6           October20,2015         Am erican A irlines tlight #1359 from M iam i,Florida to
                                          W ashington,D .C.

       7          N ovem ber 30,2015      Am edcan A irlines flight #1509 from M iam i,Florida to
                                          Boston,M assachusetts.


        In violation ofTitle 18,U nited States Code,Sections 2421 and 2.

                                          C O U N TS 8-12

                The allegations set forth in paragraphs 1 through 6 of the General Allegations

 section ofthis lndictm entare re-alleged and incom orated by reference asiffully setforth herein.
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               On or about the date specitied below , in M iam i-D ade C ounty, in the Southern

 D istlictofFlorida,and elsewhere,the defendants,as setforth in each countbelow ,did know ingly

 conduct and attem pt to conduct a financial transaction affecting interstate com m erce, w hich

 transaction involved the proceeds of specified unlaw ful activity, know ing that the property

 involved in the financialtransaction represented the proceeds of som e form ofunlaw fulactivity,

 and know ing thatthe transaction w as designed in whole and in partto concealand disguise the

 nature,the location,the source,the ow nership,and the controlof the proceeds of the specified

 unlaw fulactivity,assetforth below :

  Count       D efendant       A pproxim ate              D escription ofTransaction
                                  D ate of
                               Transaction
     8     M ARIA BELEN December21, Thetransferof$2,073.88from JP M organChase
           ENRIQUEZ            2015             account ending in 3526 in the name of RT
           BARRIGA                              Network LLC toENRIQUEZ BARRIGA.
    9      M ARIA PILAR April20,                Transfer of $2,000.00 m ade from W ells Fargo
           R EV O RE DO        2016             account ending in 1523 in the nam e of RT
                                                N etwork LLC to REV O RE DO .
    10     M ARIA PILAR Augustl0,               Transfer of $5,000.00 m ade from W ells Fargo
           R EV O RED O        2016             account ending in 1523 in the nam e of RT
                                                N etwork,LLC to RE VO RED O .
    11     M ARIA PILAR December 12, Transfer of $5,000.00 from Bank of America
           R EV O R EDO        2016             account ending in 8509 in the nam e of Luxe
                                                SolutionsCo .to REV O R ED O .
    12     M ARIA BELEN April19,                Transfer of $5,000.00 from Bank of America
           ENRIQUEZ            2017             accountending in 4340 in the nameofPhoebe
           BARRIGA                              VenturesLLC toENRIQUEZ BARRIGA.

         Itisfurtherallegedthatpursuantto Title l8,United StatesCode,Sections1956(c)(7)(A)
 and 1961(1),thespecifiedunlawfulactivity istheknowing transportofindividualsin interstate
 com m erce w ith the intent that such individuals engage in prostitution,in violation of Title 18,

 United StatesCode,Section 2421*
                               ,

         lnviolation ofTitlel8,UnitedStatesCode,Sections1956(a)(1)(B)(i)and2.
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 9 of 14



                         C RIM IN AL FO R FEITU RE A LLEG AT IO N S

               The allegations in this Indictm ent are re-alleged and by this reference fully

 incorporated herein forthe purpose ofalleging forfeiture to the U nited StatesofA m erica ofcertain

 property in which one or m ore of the defendants, M AR IA PILA R R E VO RED O , M A RIA

 BELEN ENRIQUEZ BARRIGA,andPATRICIO PELL-RICHARDS haveaninterest.
               Upon conviction ofany violation ofTitle 18,U nited StatesCode,Section 2421,or

 a conspiracy to com m itsuch violation,asalleged in this lndictm ent,the defendantshallforfeitto

 the U nited States,a11property,real or personal,which constitutes or is derived from proceeds

 traceable to such violation.

               Upon conviction ofany violation ofTitle l8,United StatesCode,Section 2421,or

 a conspiracy to com m itsuch violation,asalleged in this lndictm ent,the defendantshallforfeitto

 the U nited States,allproperty,realorpersonal,thatw asused orintended to be used to com m itor

 to facilitate the com m ission of such violation and allproperty,realor personal,constituting or

 derived from any proceeds that such person obtained,directly or indirectly,as a resultof such

 violation.

                Upon conviction ofany violation ofTitle 18,United States Code,Section 1956,as

 alleged in this lndictm ent,the defendant shall forfeitto the U nited States,allproperty,real or

 personal,involved in such violation,orany property traceable to such property.

                Thepropertysubjectto forfeitureincludes,butisnotlimitedto:
                       ww w .them iam idolls.com

                b.     ww w .redtease.m e.

                C.     ww w .plushm ates.club
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        AllpursuanttoTitle18,United StatesCode,Sections981(a)(1)(C),982(a)(1),and 2428,
 and the procedures set forth in Title 2 l, United States Code,Section 853 including as m ade

 applicableby Title 28,United StatesCode,Section 2461(c)and Title 18,United StatesCode,
  Section982(b).
                                           A TRU E BILL




   (
 BEN JAM W G.G REEN BER G
 U N ITED STA TES A TTORN EY


                   J
 CA RY 0 .A RO N OV ITZ
 A SSISTAN T UN ITED STA TES A TTORN EY




                                             10
                           UNITED
 Case 1:18-cr-20376-RS Document 3 STATES DIon
                                   Entered STRICT COURT
                                              FLSD  Docket
                           SOUTHERN  DISTRICT OF     DA 05/07/2018 Page 11 of 14
                                                 FLORI

UNITED STATES OF AM ERICA                      CASE NO.
VS.
                                              C ERTIFICATE O F TR IA L ATTO R NEY,
MARIA PILAR REVOREDO,etal.
      Defendants.
                                              Superseding Case Inform ation:

CourtDivision:(SelectOne)                     New Defendantts)
                                              N                                    Yes        No
                                               um berofNew Defendants
                                              Totalnum berofcounts
 x F
   Mi
    TaLmi               w
                        KeIBWest      FTp
      Ido herebycedi
                   fy that:
               Ihave carefullyconsidered the allegati
                                                    ons ofthe indictmeqt the num berofdefendants,the num ber
               ofprobablewitnessesandtheIegalcomplexitiesoftheIndlltment/lnformati
                                                                                 onattachedhereto.
               lam aware thatthç information supplied oq this jtqtemeqtwillbe relied upon by the Judges ofthi  s
               Courtin setting thelrcal:ndars and schedullng crlm lnaltrlals underthe m andate ofthe Speedy Trial
               Act,Title 28 U.S.C.Sectlon 3161.
               Iqterpreter:
               L                (YesqrNo)     No
                IstIanguage and/ordlalect
               This case willtake     6-8     days forthe parties to try.
               Please checkappropriate category and type ofoffense Iisted below:
               (Checkonlyone)                                 (Checkonl
                                                                      yone)
               0 to 5 days                                             Pçtty
               6 to 10 days                       x                    Mlnor
               11to 20 days                                            Mlsdem.
               21 to 60 days                                           Felony             x
               61 days and over
      6.       Hasthiscase beenpreviouslyfiled inthisDistri
                                                          ctCourt? (YesorNo)             No
      Ifyes:
      Judge:                                          Case No.
      (
      HAttachcopygfdispositive grdeç)
        asacomplalntbeenfil ed Inthlsmatter?          (YesorNo)        No
      Ifyej:
      Maglstrate Case No.
      Related Misc:llaneous numbers:
      Defendantts)lnfederalcustodyasof
      D
        efendantts)lnstatecustodyasof
      Rule 20 from the                          Is rIc o
      Isthisa potentialdeathpenaltycase?(YesorNo)             No

               Dges this case originate from a m atterpending in the Northern Regi
                                                                                 on ofthe U.S.Attorney's Office
               prl
                 orto October14,2003?                         Yes             x    No

      8.       Dges this case originate from a m atterpending in the CentralRegion ofthe U.S.Attorney's Office
               prl
                 orto Septem ber1,2007:2                      Yes              x   No




                                                      CARY O JAR NOVITZ
                                                      ASSISTANT UNITED STATES ATTO RNEY
                                                      Florida BarNo.86425

*penal
     tySheetts)attached                                                                              REV 4/8/08
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 12 of 14



                           UN ITED STA TES D ISTR IC T C O U R T
                           SO U TH ER N DISTRIC T O F FLO R ID A

                                       PENA LTY SH EET

 Defendant'sN am e: M A R IA PILA R RE VO RED O

 Case N o:

 Count#:1

 Conspiracy to Transportlndividuals in lnterstate Com m erce to Engage in Prostitution

 Title 18,U nited StatesCode,Section 37l

  *M ax.Penalty:5 Y ears'Im prisonm ent

 Counts#:2-7

 Transportation oflndividuals in Interstate Com m erce to Engage in Prostitution

 Title 18,United StatesCode,Sections2421and 2

 *M ax.Penalty:10 Y ears'Im prisonm ent

 Counts#:9-1l

 M oney Laundering to Concealthe Source ofProceeds D elived from Specitied Unlaw fulA ctivity

 Title18,UnitedStatesCode,Sections1956(a)(1)(B)(i)and 2
  *M ax.Penalty:20 Years'Im plisonm ent




   WRefers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 13 of 14



                            U N ITE D STA TES DISTR IC T C O U R T
                            SO U TH ER N D ISTRIC T O F FLO R IDA

                                        PEN A LTY SH EET

 Defendant'sName: M ARIA BELEN ENRIQUEZ BARRIGA
  Case N o:

  Count#:l

  Conspiracy to Transportlndividuals in lnterstate Com m erce to Engage in Prostitution

  Title 18,U nited States Code,Section 37l

  *M ax.PenaltyqjYç/p'lpzprisonment
                  ..




  Counts #:2-7

  Transportatiop pflndividuals in Interstate Com m erce to Engage in Prostitution

  Title l8,U nited StatesCode,Sections2421 and 2

  *M ax.Penaltyq1f)Yç>p'lpprijpnmçnt
  Counts#:8,12

  M oney Laundedng to Concealthe Source ofProceedsD erived from Specified U nlaw fulA ctivity

  Title18,UnitedStatesCode,Sectionsl956(a)(1)(B)(i)and2
  *M ax.Penalty:20 Y ears'lm prisonm ent




   WR efers only to possible term ofincarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:18-cr-20376-RS Document 3 Entered on FLSD Docket 05/07/2018 Page 14 of 14



                            U N ITE D STA TES DISTR IC T C O U R T
                            SO IJTH ER N D ISTRIC T O F FLO R IDA

                                       PEN A LTY SH EET

 D efendant's N am e: PA TR IC IO PELL -RIC H A R DS

  Case No:

  Count#:l

  Conspiracy to TransportIndividuals in lnterstate Com m erce to Engage in Prostitution

 Title 18,United StatesCode,Section 371

  *M ax.Penalty:5 Y ears'lm prisonm ent




   eRefers only to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
